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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 In Re: Vioxx                                  *
 Products Liability Litigation                 *
                                               *
 This Document Relates To:                     *     MDL No. 05-1657
                                               *
 Willard Allanson, et al.                      *     JUDGE FALLON
 v. Merck & Co., Inc.                          *
                                               *     MAGISTRATE JUDGE
 No. 06-2213                                   *     KNOWLES
                                               *
 Only with regard to:                          *
 Robert Gross, Janet Gross, Joseph S.          *
 Holly, Charles D. Locy, Nellie Locy,          *
 Wilbur Owens and George A. Rupakus,           *
 Sr.

 ********************************

                         ORDER OF DISMISSAL WITH PREJUDICE

                 Plaintiff Robert Gross, Janet Gross, Joseph S. Holly, Charles D. Locy, Nellie

Locy, Wilbur Owens and George A. Rupakus and Defendant, Merck & Co., Inc. hereby

stipulate, pursuant to Fed. R. Civ. Proc. 41(a)(1), to a dismissal with prejudice all of claims

against Merck & Co., Inc. and all other defendants in the above-styled lawsuit, each party to bear

its own costs.



       NEW ORLEANS, LOUISIANA, this ____ day of ________________, 2008.



                                                      _______________________
                                                          DISTRICT JUDGE




                                                                                                  948130v.1
